Case 1:23-cr-00049-BLW Document1 Filed 02/15/23 Page 1of6

JOSHUA D, HURWIT, IDAHO STATE BAR NO. 9527 U.S. COURTS

UNITED STATES ATTORNEY FEB { 5 2023

CHRISTIAN 8. NAFZGER, IDAHO STATE BAR NO. 6286

ASSISTANT UNITED STATES ATTORNEY Revd, rere Time
NW KE

DISTRICT OF IDAHO CLERK, DISTRICT OF Gato

1290 W. MYRTLE ST. SUITE 500
BOISE, IDAHO 83702-7788
TELEPHONE: (208) 334-1211
FACSIMILE: (208) 334-1413

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA, . .
CaseNo. OF) 2 %.0046-SRLY

INDICTMENT

Plaintiff,

VS,
21 U.S.C §§ 841(a)(1),(b)(1)(A), (B) and (C),
EFREN ALEXANDER AVILES-PACHECO, | and 853;
18 U.S.C, §§ 922(2)(1), 924(e)(1), and
Defendant, 924(d);

28 U.S.C. § 2461(c)

The Grand Jury charges:

COUNT ONE

Possession with Intent to Distribute Methamphetamine
21 U.S.C. § 841(a)(1), (b)()(A)

On or about November 22, 2022, in the District of Idaho, the Defendant, EFREN
ALEXANDER AVILES-PACHECO, did knowingly and intentionally possess with the intent to
distribute at least fifty grams or more of actual methamphetamine, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1) and (b)(1 (A).

INDICTMENT - 1

Case 1:23-cr-00049-BLW Document1 Filed 02/15/23 Page 2 of 6

COUNT TWO

Possession with Intent to Distribute Fentanyl
21 U.S.C. § 843(a)(1), (b)(D)(B)

On or about November 22, 2022, in the District of Idaho, the Defendant, EFREN
ALEXANDER AVILES-PACHECO, did knowingly and intentionally possess with the intent to
distribute at least forty grams or more of fentanyl, a Schedule II controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1) and (b)(1)(B).

COUNT THREE

Possession with Intent to Distribute Cocaine
21 USS.C. § 841 (a4), (bd) (C)

On or about November 22, 2022, in the District of Idaho, the Defendant, EFREN
ALEXANDER AVILES-PACHECO, did knowingly and intentionally possess with the intent to

distribute cocaine, a Schedule II controlled substance, in violation of Title 21, United States

Code, Section 841(a)(1) and (by) 1)(C).

COUNT FOUR

Possession of a Firearm in Furtherance of a Drug Trafficking Crime
18 U.S.C. § 924(e)(1D)

On or about November 22, 2022, in the District of Idaho, the Defendant, EFREN
ALEXANDER AVILES-PACHECO, did knowingly possess a firearm, to wit: one Ruger, model
EC9s, 9mm caliber pistol, bearing serial number 459-82489, in furtherance of a drug trafficking
crime for which he may be prosecuted in a court of the United States, to wit: possession with
intent to distribute methamphetamine, as charged in Count One; possession with intent to

distribute fentanyl, as charged in Count Two; possession with intent to distribute cocaine, as

INDICTMENT - 2

Case 1:23-cr-00049-BLW Document1 Filed 02/15/23 Page 3 of 6

charged in Count Three; all three Counts in violation of Title 21, United States Code, Section

841(a)(1), and all in violation of Title 18, United States Code, Section 924(c)(1).

COUNT FIVE

Unlawful Possession of Firearm
18 U.S.C, § 922(2)(1)

On or about November 22, 2022, in the District of Idaho, the Defendant, EFREN
ALEXANDER AVILES-PACHECO, knowing that he had been convicted of a crime punishable
by imprisonment for a term exceeding one year; that is, possession with intent to distribute
methamphetamine, entered on or about February 15, 2019, in case number 18-cr-00160-S-BLW,
in the United States District Court for the District of Idaho, did knowingly possess a firearm, to
wit: one Ruger, model EC9s, 9mm caliber pistol, bearing serial number 459-82489, said firearm
having been shipped and transported in interstate commerce, in violation of Tifle 18, United

States Code, Section 922(¢)(1).

CRIMINAL FORFEITURE ALLEGATIONS

Drug Forfeiture
21 ULS.C, § 853

Upon conviction of the offenses alleged in Count One, Two, and Three in this
Indictment, the Defendant, EFREN ALEXANDER AVILES-PACHECO, shall forfeit to the
United States, pursuant to 21 U.S.C. § 853, any and all property, real and personal, tangible and
intangible, consisting of or derived from any proceeds the Defendant obtained directly or
indirectly as a result of the foregoing drug offenses; and any and all property, real and personal,

tangible and intangible, used or intended to be used, in any manner or part, to commit, or to

INDICTMENT - 3

Case 1:23-cr-00049-BLW Document1 Filed 02/15/23 Page 4of6

facilitate the commission of, the foregoing offenses. The property to be forfeited includes, but is
not limited to, the following:

l. Seized Property. a. $3,415 United States currency;

b. One Ruger, model EC9s, 9mm caliber pistol, bearing serial
number 459-82489; and,
c. Miscellaneous ammunition.

2, Unrecovered Cash Proceeds and/or Facilitating Property. The Defendant

obtained and controlled unrecovered proceeds of the offense of conviction, or property derived
from or traceable to such proceeds, and property the defendant used to facilitate the offense, but
based upon actions of the Defendant, the property was transferred, diminished, comingled, or is
otherwise unavailable.

2, Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,

3

the government will seek forfeiture of substitute assets, “or any other property of the defendant
up to the value of the Defendant’s assets subject to forfeiture. The government will do so when

the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

c. Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

e. Has been commingled with other property which cannot be subdivided
without difficulty.

All pursuant to Title 21, United States Code, Section 853.

INDICTMENT - 4

Case 1:23-cr-00049-BLW Document1 Filed 02/15/23 Page 5of6

Firearm Forfeiture
18 U.S.C. § 924(d) and 28 U.S.C. § 2461 (c)

Upon conviction of the offenses alleged in this Indictment, the Defendant, EFREN
ALEXANDER AVILES-PACHECO, shall forfeit to the United States, any firearms or
ammunition involved in or used in the commission of the offense. The property to be forfeited

includes, but is not limited to, the following:

1. Seized Property.
a, one Ruger, model EC9s, 9mm caliber pistol, bearing serial number 459-
82489; and,
b. Miscellaneous ammunition.

2. Substitute Assets. Pursuant to 21 U.S.C. § 853(p) and other applicable statutes,

the government will seek forfeiture of substitute assets, “or any other property of the Defendant”
up to the value of the Defendant’s assets subject to forfeiture. The government will do so when
the property subject to forfeiture cannot be forfeited for one or more of the following reasons:

a. Cannot be located upon the exercise of due diligence;

b. Has been transferred or sold to, or deposited with, a third person;

c, Has been placed beyond the jurisdiction of the court;

d. Has been substantially diminished in value; or

e, Has been commingled with other property which cannot be subdivided

without difficulty.

INDICTMENT - 5

Case 1:23-cr-00049-BLW Document1 Filed 02/15/23 Page 6of6

Dated this 15th day of February, 2023.
A TRUE BILL

/s/ {signature on reverse]

FOREPERSON

JOSHUA D. HURWIT
UNITED STATES ATTORNEY

"CBSA wn

CHRISTIAN S, NY
ASSISTANT UNITED STATES ATTORNEY

INDICTMENT - 6

